Case 6:22-cv-01312-WWB-LHP Document 112 Filed 12/16/22 Page 1 of 25 PageID 1264




                  IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF FLORIDA

  JENNIFER COUSINS, et al.,

        Plaintiffs,

        v.                                        No. 6:22-cv-1312-WWB-LHP

  THOMAS R. GRADY, et al.,

       Defendants.
  _________________________________/



                  STATE DEFENDANTS’ SECOND MOTION TO DISMISS
                    AND INCORPORATED MEMORANDUM OF LAW

        The State Defendants (the members of the State Board of Education and

  Intervenor, Attorney General Ashley Moody) move to dismiss with prejudice for failure to

  plead standing under Rule 12(b)(1) and for failure to state a claim under Rule 12(b)(6).

        Plaintiffs’ effort to convince the public that HB 1557 forecloses “any

  acknowledgment whatsoever of the existence of LGBTQ+ people,” ECF 82 ¶ 1, is

  fearmongering at best. All the statute does is eliminate “classroom instruction” for the

  youngest public-school students “on” the concepts of “sexual orientation” and “gender

  identity.” Fla. Stat. § 1001.42(8)(c)(3). The statute neutrally leaves those concepts to

  parents rather than state officials until fourth grade, at which point the concepts may be

  introduced in a manner consistent with “state standards” that have not yet been adopted.

        For the reasons discussed below, Plaintiffs have failed to cure the standing

  problems that the Court identified in dismissing their First Amended Complaint. There is,

  in any event, nothing unlawful about HB 1557. The complaint should therefore be

  dismissed.



                                              1
Case 6:22-cv-01312-WWB-LHP Document 112 Filed 12/16/22 Page 2 of 25 PageID 1265




                                          ARGUMENT

     I.      STATUTORY CONSTRUCTION

          The proper interpretation of HB 1557’s regulation of classroom instruction cuts

  across every issue in the case. The statute provides, in pertinent part: “Classroom

  instruction by school personnel or third parties on sexual orientation or gender identity

  may not occur in kindergarten through grade 3 or in a manner that is not age-appropriate

  or developmentally appropriate for students in accordance with state standards,” which

  must be adopted by the Department of Education by “June 30, 2023.” Fla. Stat.

  § 1001.42(8)(c)(3); HB 1557 § 2.

          As a threshold matter, only the instructional restriction applicable to kindergarten

  through third grade is in effect. For older children, the statute ties the prohibition of

  instruction that is not “age-appropriate” or “developmentally appropriate” to “state

  standards” that have not yet been adopted and need not be adopted until next year. In

  other words, for those older children, the statute “takes effect only after the Florida

  Department of Education (Department) develops rules or guidance on age-appropriate

  and developmentally appropriate instruction.” See Memo from J. Oliva to School District

  Superintendents, House Bill 1557, Parental Rights in Education, School District

  Responsibilities,   FLORIDA DEPARTMENT         OF   EDUCATION     at   1   (June   6,   2022),

  https://info.fldoe.org/docushare/dsweb/Get/Document-9559/dps-2022-68.pdf.

          There remains the prohibition of “classroom instruction . . . on sexual orientation

  or gender identity” in grades K–3. Fla. Stat. § 1001.42(8)(c)(3). “Instruction” is “the action,

  practice, or profession of teaching.” Instruction, MERRIAM-WEBSTER’S DICTIONARY,

  https://www.merriam-webster.com/dictionary/instruction (last visited Dec. 16, 2022).




                                                2
Case 6:22-cv-01312-WWB-LHP Document 112 Filed 12/16/22 Page 3 of 25 PageID 1266




  The statute is concerned, moreover, only with “classroom instruction,” i.e., the formal

  work of teaching that occurs in a classroom setting.

         That reading of “classroom instruction” is reinforced by the prepositional phrase

  that follows: The statute limits “classroom instruction” only if it is “on sexual orientation

  or gender identity.” Fla. Stat. § 1001.42(8)(c)(3). In that grammatical structure, the

  preposition “on” “indicate[s] the subject of study, discussion, or consideration.” On,

  MERRIAM-WEBSTER’S DICTIONARY, https://www.merriam-webster.com/dictionary/on (last

  visited Dec. 16, 2022). And classroom instruction “on” particular “subject[s] of study”—

  “sexual orientation” and “gender identity”—means formal classroom teaching about

  those subjects, nothing more or less.

         Accordingly, just as a unit on quadratic functions is quintessential “instruction on

  mathematics,” teaching a particular view of marriage equality or modern gender theory

  would be “instruction on sexual orientation or gender identity.” But just as bare references

  to numbers in a history book are not “instruction on mathematics,” HB 1557 does not

  prohibit literary references to a gay or transgender person or to a same-sex couple.

  More generally, as both this Court and Judge Winsor have explained, teachers having

  photos of same-sex spouses on their desks, intervening in bullying, engaging with a

  student’s same-sex parents, and the like, “are not classroom instruction on sexual

  orientation or gender identity, even if they involve[] parties who mention a sexual

  orientation or gender identity.” Equality Florida v. Fla. State Bd. of Educ., No.4:22-cv-134,

  ECF 120 at 11 (N.D. Fla. Sept. 29, 2022) (Equality Fla.); see ECF 81 at 22.




                                               3
Case 6:22-cv-01312-WWB-LHP Document 112 Filed 12/16/22 Page 4 of 25 PageID 1267




           HB 1557 is also neutral. The law’s proscription applies equally, regardless of

  viewpoint. For example, it would violate the statute to instruct students that

  heterosexuality is superior or that gender identity is immutable based on biological traits.

           Finally, the limited scope of the law’s proscription informs the meaning of the

  phrase “school personnel or third parties,” Fla. Stat. § 1001.42(8)(c)(3), which Plaintiffs

  mistakenly suggest broadly expands the statute’s reach not only to teachers and other

  school personnel, but also to students and parents acting in the ordinary course. See

  ECF 82 ¶ 30. The law prohibits only formal classroom teaching about sexual orientation

  and gender identity. Such formal teaching can be carried out only by school personnel or

  those to whom the school has delegated responsibility for such teaching—i.e., agents of

  the public school system, not parents or students acting in the ordinary course.

     II.      PLAINTIFFS LACK STANDING.

           As this Court has explained, “plaintiffs must demonstrate standing for each claim

  that they press and for each form of relief that they seek.” ECF 81 at 12 (cleaned up).

  Plaintiffs seek declaratory and injunctive relief against both HB 1557 on its face and

  particular actions allegedly “taken to implement the law” by the School Board Defendants.

  ECF 82 at 62–63. Those are distinct forms of relief, although the Complaint mushes them

  together at every turn. As discussed more fully below, Plaintiffs lack standing to bring their

  facial challenge because they have not adequately pleaded that they are injured by the

  enforcement of HB 1557. Instead, they object to actions taken by schools and school

  districts, none of which is even arguably required by the statute. To the extent Plaintiffs

  contend that those actions—not HB 1557—are unconstitutional, their claims have nothing

  to do with this statute. But to the extent Plaintiffs challenge the statute, even on an as-




                                                4
Case 6:22-cv-01312-WWB-LHP Document 112 Filed 12/16/22 Page 5 of 25 PageID 1268




  applied basis, they plainly lack standing as to all Defendants. Plaintiffs doubly lack

  standing to sue the State Defendants, because it is parents—not the State Defendants—

  who sue to enforce HB 1557. A judgment against the State Defendants would thus leave

  the enforcing parties free to continue causing the injuries that Plaintiffs allege.

                A.     Injury-in-Fact

         To plead injury-in-fact, Plaintiffs must allege “an intention to engage in a course of

  conduct arguably affected with a constitutional interest, but proscribed by a statute, and

  [demonstrate that] there exists a credible threat of prosecution thereunder.” Susan B.

  Anthony List v. Driehaus, 573 U.S. 149, 159 (2014) (quoting Babbitt v. Farm Workers, 442

  U.S. 289, 298 (1979)). Put differently, Plaintiffs must allege injuries that are attributable

  to HB 1557, not that are “fanciful, paranoid, [and] otherwise unreasonable.” Clapper v.

  Amnesty Int’l USA, 568 U.S. 398, 416 (2013) (citation omitted).

                          i.   Plaintiffs have not adequately pleaded any specific actions
                               they wish to take that are arguably prohibited by HB 1557.

         1. As a threshold matter, Plaintiffs’ allegations almost universally do not concern

  “classroom instruction by school personnel or third parties on sexual orientation or gender

  identity.” Fla. Stat. § 1001.42(8)(c)(3). For example, the statute does not even arguably

  restrict students’ ability to “be open about their” identities, ECF 82 ¶ 54, the completion of

  a “family tree” that includes a gay or transgender family member, ECF 82 ¶ 63, the

  placement of a safe-space sticker, ECF 82 ¶ 66, Larkins’ desire to “educate his peers,”

  ECF 82 ¶ 76, Dinan’s desire to mention Gongidi on a field trip, ECF 82 ¶ 93, “seek[ing]

  out a book in a school library that contains a non-binary character,” ECF 82 ¶ 57, or

  intervention against bullying, ECF 82 ¶ 98–99. See supra Part I.




                                                5
Case 6:22-cv-01312-WWB-LHP Document 112 Filed 12/16/22 Page 6 of 25 PageID 1269




         Plaintiffs’ only allegation that even approaches “classroom instruction” is Jennifer

  Cousins’ claim that she wishes to read a book about “Harvey Milk and the Rainbow Flag”

  to her child’s K-3 class during a “teach-in” week. ECF 82 ¶ 56. But Ms. Cousins does not

  allege that she asked to read the book at the event, let alone that she was denied. “With

  or without [HB 1557], school districts direct teachers as to what they may and may not

  teach.” Equality Fla. at 6. Plaintiffs “do not allege . . . that Florida’s public-school teachers”

  (let alone parents at a teach-in event) “may teach whatever lessons they wish.” Id. Nor

  could they. HB 1557 notwithstanding, Florida law prohibits classroom material that “is

  inappropriate for the grade level and age group for which the material is used.” Fla. Stat.

  § 1006.28(2)(a)(2)(b). Ms. Cousins alleges that the book at issue was “written for K-3

  children” and that it is “age-appropriate.” ECF 82 ¶ 56. But those conclusory allegations

  do not establish that her child’s teacher (let alone her child’s school district) would find

  the book appropriate. Accordingly, Ms. Cousins “can only speculate as to whether” the

  government would have used HB 1557 (as opposed to “other methods”) to bar her

  participation. Clapper, 568 U.S. at 412.

         2. Beyond that shortcoming, Plaintiffs Larkins, S.C., and K.R.D. are middle- or

  high-school students. ECF 82 ¶¶ 3–5, 70. As explained above, the challenged provision

  does not take effect for those grade levels until June 2023, when the State must

  promulgate standards for what “classroom instruction” may be “age-appropriate [and]

  developmentally appropriate . . . in accordance with state standards.” Supra Part I. Until

  then, the statute regulates classroom instruction only for grades K-3, and any concerns

  about possible regulation of later grades are at best “conjectural or hypothetical.” I.L. v.

  Alabama, 739 F.3d 1273, 1278 (11th Cir. 2014) (cleaned up). Put differently, the statute




                                                  6
Case 6:22-cv-01312-WWB-LHP Document 112 Filed 12/16/22 Page 7 of 25 PageID 1270




  does not prohibit Larkins from learning about “LGBTQ+ history” in high school, ECF 82

  ¶ 73, or S.C. from participating in a middle-school gay-straight alliance field trip, ECF 82

  ¶ 61, and it is speculative to think it ever will.

                          ii.   The Student and Parent Plaintiffs have not sufficiently
                                pleaded a chilling effect or denial of information.

         1. Because Plaintiffs have not alleged “an intention to engage in a course of

  conduct” that is arguably “proscribed by a statute” they challenge, they have not

  sufficiently pleaded a chilling effect on them. Driehaus, 573 U.S. at 159. Likewise,

  because Plaintiffs have not alleged that they wish to access any information prohibited by

  the statute, they have not sufficiently pleaded a denial of information injury.

         2. Plaintiffs have failed to plead a chilling effect for the additional reason that they

  have not demonstrated “a credible threat of prosecution.” Driehaus, 573 U.S. at 159. They

  allege that they “have been chilled and/or forced to self-censor by taking care not to

  mention their own or a family member’s sexual orientation and/or gender identity in school

  contexts,” ECF 82 ¶ 145, but they do not and cannot allege any threat that the law will be

  enforced against them. As Judge Winsor observed, the statute can be enforced only

  through private claims brought by parents against school districts. See Equality Fla. at 9–

  10. The statute simply does not provide for enforcement against students or parents.

         To the extent Plaintiffs allege that school or school district employees may seek to

  enforce the statute against them, they lack standing because allegations of a “chilling

  effect” are insufficient when they are attributable not to the challenged provision but

  instead to fear of “some other and additional action detrimental to that individual.”

  Clapper, 568 U.S. at 418 (cleaned up). Plaintiffs’ denial-of-information claim, too, is

  premised not on the implementation of the statute, but instead on the administrative acts



                                                  7
Case 6:22-cv-01312-WWB-LHP Document 112 Filed 12/16/22 Page 8 of 25 PageID 1271




  of school officials. For example, they allege that Orange County officials are instructing

  staff that “library books that make written or pictorial reference to sexual orientation or

  gender identity should not be available to K-3 students to browse or check out.” ECF 82

  ¶ 58 (cleaned up). But the statute regulates only “classroom instruction,” not the

  availability of library books. Indeed, a separate provision of Florida law regulates library

  books, see Fla. Stat. § 1006.28(2)(a)(2), and Plaintiffs do not challenge that provision.

         3. Plaintiffs lack standing to bring their denial-of-information claim for the additional

  reason that HB 1557 merely shifts instruction from early to late grades, and the right to

  receive information does not regulate when a school provides information. A ninth grader

  does not suffer constitutional injury when a school teaches physics in ninth grade and

  chemistry in tenth, even if the student would prefer the periodic table to Newton. See

  Zykan v. Warsaw Cmty. Sch. Corp., 631 F.2d 1300, 1306 (7th Cir. 1980). No Plaintiff,

  therefore, suffers a constitutionally cognizable injury when they are made to wait until

  fourth grade or later to learn about gender identity or sexual orientation.

                         iii.   Plaintiffs fail to allege a cognizable Equal Protection injury.

         Plaintiffs allege that HB 1557 “shames and stigmatizes” gay and transgender

  individuals. ECF 82 ¶ 189. “There can be no doubt that this sort of noneconomic injury is

  one of the most serious consequences of discriminatory government action.” Allen v.

  Wright, 468 U.S. 737, 755 (1984), abrogated on other grounds by Lexmark Int’l, Inc. v.

  Static Control Components, Inc., 572 U.S. 118 (2014). But as the Supreme Court has

  explained, “such injury accords a basis for standing only to those persons who are

  personally denied equal treatment.” Id. (cleaned up).




                                                 8
Case 6:22-cv-01312-WWB-LHP Document 112 Filed 12/16/22 Page 9 of 25 PageID 1272




           For example, in Moore v. Bryant, a black plaintiff sued various officials alleging that

  the state flag, which included the confederate battle flag, “violate[d]” the Equal Protection

  Clause. 853 F.3d 245, 248 (5th Cir. 2017). Despite his allegations that the flag’s “message

  . . . ma[de] him ‘feel like a second-class citizen’” and “cause[d] him both physical and

  emotional injuries,’” the Fifth Circuit held that he lacked standing because “exposure to a

  discriminatory message, without a corresponding denial of equal treatment, is insufficient

  to plead injury.” Id. at 249–50. Likewise, in Penkoski v. Bowser, white plaintiffs challenged

  a government-sanctioned Black Lives Matter mural. 486 F. Supp. 3d 219, 228–29 (D.D.C.

  2020).     They     lacked     standing    because      they    “made     no    showing     [of]

  . . . discriminatory treatment,” only a “discriminatory message.” Id.

           Plaintiffs’ case is indistinguishable. They readily admit that they challenge the

  “message” conveyed by the State under HB 1557. ECF 82 ¶ 191. And notwithstanding

  their conclusory allegation that HB 1557 “denies them equal educational opportunities,”

  ECF 82 ¶ 189, the statute does not subject Plaintiffs (or anyone else) to differential

  treatment. Like other curricular standards, it applies the same standard to all “classroom

  instruction” at each grade level and thus operates equally on students at that grade level.

  Although Plaintiffs allege that the statute increases the likelihood that they will experience

  bullying and thus “harms their long-term health and well-being,” ECF 82 ¶ 189, those are

  speculative downstream effects of the same alleged stigmatic harm, not denials of equal

  treatment. See Moore, 853 F.3d at 252 (rejecting “hostile workplace” theory of equal

  protection standing); Hollander v. Inst. for Research on Women & Gender, 372 F. App’x

  140, 141 (2d Cir. 2010) (male plaintiff’s alleged injury from university’s lack of a Men’s

  Studies Program was too speculative).




                                                  9
Case 6:22-cv-01312-WWB-LHP Document 112 Filed 12/16/22 Page 10 of 25 PageID 1273




                        iv.   CenterLink does not allege an injury in fact.

         Plaintiff CenterLink claims that its mission has been impaired and that it has spent

  money as a result of HB 1557. ECF 82 ¶¶ 100, 102–04. But an organization’s general

  interest in a preferred result is not cognizable. Jacobson v. Fla. Sec’y of State, 974 F.3d

  1236, 1250 (11th Cir. 2020) (Democratic Party groups lacked a concrete interest in laws

  that helped elect Democrats). Harm to “abstract social interests” is not concrete injury.

  See Havens Realty Corp. v. Coleman, 455 U.S. 363, 379 (1982). Nor may an organization

  manufacture standing by expending resources absent a credible threat of enforcement.

  See Clapper, 568 U.S. at 415–16. “[A]n organization can no more spend its way into

  standing based on speculative fears of future harm than an individual can.” Shelby

  Advocates for Valid Elections v. Hargett, 947 F.3d 977, 982 (6th Cir. 2020). That is

  because an organization cannot “convert its ordinary program costs into an injury in fact.”

  Nat’l Taxpayers Union, Inc. v. United States, 68 F.3d 1428, 1434 (D.C. Cir. 1995). And

  thus, unless it points to some threat of enforcement, “an organization’s expenditure of

  resources to educate its members and others regarding government action . . . does not

  present an injury in fact.” Food & Water Watch, Inc. v. Vilsack, 808 F.3d 905, 925 (D.C.

  Cir. 2015) (Henderson, J., concurring) (cleaned up).

         Plaintiffs have not, in any event, sufficiently alleged a diversion of resources

  attributable to the implementation of HB 1557. They say that they have spent more time

  “responding to calls” from member centers “requesting assistance in interpreting the Law

  and creating educational materials.” ECF 82 ¶ 102. But CenterLink alleges that its staff

  “spent an average of four to eight hours per week responding to calls” “[a]fter the Law’s

  passage,” and that, “[s]ince the Law became effective . . . , CenterLink staff continue to




                                              10
Case 6:22-cv-01312-WWB-LHP Document 112 Filed 12/16/22 Page 11 of 25 PageID 1274




  spend a couple of hours per week responding to member inquiries.” Id. In other words,

  as this Court previously determined, Plaintiffs allege only that their actions are “in

  response to the existence of the law,” not its enforcement or implementation, and that is

  not enough. ECF 81 at 14; see, e.g., Texas State LULAC v. Elfant, 52 F.4th 248, 255 (5th

  Cir. 2022) (finding no standing when “Plaintiffs did not show that the diversion was a direct

  response to S.B. 1111 specifically, as opposed to an undifferentiated group of recent

  election laws in Texas and elsewhere”).

         That leaves CenterLink’s claim that its member centers have been injured. ECF

  82 ¶¶ 110–30. But the activities of CenterLink’s members—“youth programs,” “mental

  health services,” “bullying” resources, or “training” regarding gay-straight alliances, ECF

  82 ¶¶ 106–07—are not “classroom instruction” and thus are not regulated by the statute.

  To the extent schools and school districts are declining to work with CenterLink’s

  members, that may well be “officials . . . acting in line with whatever sentiment they

  thought was underlying HB 1557’s passage,” but not conduct required by the statute and

  thus no basis to enjoin its operation. Equality Fla. at 5; see ECF 81 at 16 (“To the extent

  JASMYN cites the ongoing lack of meetings and referrals, it has offered nothing to

  indicate that this is the result of an effort to enforce the new law.”). The same is true of

  CenterLink’s allegation that HB 1557 has “heightened” anxiety, causing more students to

  use its member centers. ECF 82 ¶¶ 121–23. That is the kind of injury untethered from HB

  1557’s enforcement that both this court and Judge Winsor found insufficient. ECF 81 at

  17–18; Equality Fla. at 3–4.

                B.     Traceability and Redressability

         1. Plaintiffs’ central theory of injury seems to be that school boards, fearing

  litigation, are taking measures not actually required by HB 1557. See ECF 82 ¶ 28. Even


                                               11
Case 6:22-cv-01312-WWB-LHP Document 112 Filed 12/16/22 Page 12 of 25 PageID 1275




  if that is true, and even if that injures Plaintiffs, it is not traceable to the operation of HB

  1557. Plaintiffs have thus failed to plead an injury-in-fact attributable to the challenged

  provision rather than “some other and additional action detrimental to” them, Clapper, 568

  U.S. at 418 (cleaned up)—here, the actions of “officials . . . acting in line with whatever

  sentiment they thought was underlying HB 1557’s passage,” Equality Fla. at 5.

         2. Plaintiffs have likewise failed to plead redressability. As discussed above, “[w]ith

  or without [HB 1557], school districts direct teachers as to what they may and may not

  teach,” Equality Fla. at 6. HB 1557 notwithstanding, Florida law prohibits classroom

  material that “is inappropriate for the grade level and age group for which the material is

  used.” Fla. Stat. § 1006.28(2)(a)(2)(b). Because Plaintiffs have not alleged that any future

  action they wish to take or information they wish to access at school would be found

  appropriate under applicable standards, they have failed to plead that declaratory and

  injunctive relief against the operation of HB 1557 would redress their alleged grievances.

         3. Nor, in any event, would Plaintiffs have standing to sue the State Defendants.

  “[T]raceability and redressability . . . often travel together, and where, as here, a plaintiff

  has sued to enjoin a government official from enforcing a law, he must show, at the very

  least, that the official has the authority to enforce the particular provision that he has

  challenged, such that an injunction prohibiting enforcement would be effectual.” Support

  Working Animals, Inc. v. Governor of Fla., 8 F.4th 1198, 1201 (11th Cir. 2021) (citation

  omitted). But under HB 1557, it is parents, not governmental entities, who initiate litigation.

  An injunction against the State Defendants would leave parents free to enforce the

  statute. So even if Plaintiffs were correct that HB 1557 is causing school districts to “bend”

  to demands “to avoid the costs of litigation,” ECF 82 ¶ 28, an injunction against the State




                                                12
Case 6:22-cv-01312-WWB-LHP Document 112 Filed 12/16/22 Page 13 of 25 PageID 1276




  Defendants would not diminish the incentive for school districts to do so. Accordingly, the

  relief Plaintiffs seek would not redress the injuries they allege. See Whole Woman’s

  Health v. Jackson, 142 S. Ct. 522, 535 (2021); Lewis v. Governor of Ala., 944 F.3d 1287,

  1304–05 (11th Cir. 2019) (en banc).

     III.      PLAINTIFFS FAIL TO STATE A CLAIM ON THE MERITS.

                   A.      Count IV - Vagueness

            “[A] civil statute is unconstitutionally vague only if it is so indefinite as ‘really to be

  no rule or standard at all.’” Leib v. Hillsborough Cnty. Pub. Transp. Comm’n, 558 F.3d

  1301, 1310 (11th Cir. 2009) (quoting Vill. of Hoffman Estates v. Flipside, Hoffman Estates,

  Inc., 455 U.S. 489, 498–99 (1982)). HB 1557 does not even approach that standard. As

  this Court previously explained, “the law only prohibits ‘classroom instruction by school

  personnel or third parties.’” ECF 81 at 22 (quoting Fla. Stat. § 1001.42(8)(c)(3)), and no

  “reasonable person” could “believe that the law prohibits students from discussing their

  families and vacations at school or even on a school assignment, or that it would prohibit

  a parent from attending a school function in a ‘pride’ t-shirt or generally discussing their

  family structure in front of other people.” Id. Judge Winsor agreed, concluding that HB

  1557 is not even “arguably vague,” as the phrase “[c]lassroom instruction . . . on sexual

  orientation or gender identity” is readily understandable to “someone of ordinary

  intelligence.” Equality Fla., at 10–11. And that is dispositive because it supplies the

  requisite “rule or standard.” Leib, 558 F.3d at 1310.

            If anything, HB 1557 provides far more guidance than other provisions the courts

  have upheld against vagueness challenges. For example, in Fowler v. Board of Education

  of Lincoln County, the Sixth Circuit held that a school rule that proscribed “conduct

  unbecoming a teacher” was not unconstitutionally vague because it gives “adequate


                                                    13
Case 6:22-cv-01312-WWB-LHP Document 112 Filed 12/16/22 Page 14 of 25 PageID 1277




  notice” to teachers. 819 F.2d 657, 664–66 (6th Cir. 1987). And in Arnett v. Kennedy, the

  Supreme Court held that the phrase “for such cause as will promote the efficiency of the

  service” gave federal employees constitutionally sufficient notice of possible grounds of

  termination. 416 U.S. 134, 158–64 (1974) (plurality op.). The language at issue in those

  cases was sufficiently clear because it was deployed only to regulate internal government

  operations, not private behavior. And HB 1557 provides far greater notice of its scope in

  “terms of common understanding.” Cal. Teachers Ass’n, 271 F.3d at 1152–53.

        Like every statute, there will be interpretive questions about HB 1557, but that is

  no constitutional defect. See Sabetti v. Dipaolo, 16 F.3d 16, 18 (1st Cir. 1994). Instead,

  Plaintiffs must plausibly plead that HB 1557 is truly standardless. They have not done so.

               B.     Counts I and III – First Amendment Expression and Overbreadth

        Plaintiffs allege that HB 1557 violates the First Amendment by chilling their

  “affirming speech and expression concerning their own or others’ sexual orientation and

  gender identity in school contexts and with students.” ECF 82 ¶ 145. That is wrong.

        1. The statute restricts only curricular choices in public schools. See supra Part I.

  And as the Eleventh Circuit has explained, in public schools, “expression delivered

  directly through the government or indirectly through private intermediaries” is

  government speech in which the “government is free to make subject-matter-based

  choices.” Bannon v. Sch. Dist. of Palm Beach Cnty., 387 F.3d 1208, 1213 (11th Cir. 2004).

        The State’s plenary control of its own message extends even to certain student

  activities, such as cheerleading and mental-health counseling. See Dean v. Warren, 12

  F.4th 1248, 1265–66 (11th Cir. 2021) (rejecting first Amendment right to protest while

  cheering); Keeton v. Anderson-Wiley, 664 F.3d 865, 877 (11th Cir. 2011) (rejecting First

  Amendment right to exceed scope of counseling practicum). It even more obviously


                                             14
Case 6:22-cv-01312-WWB-LHP Document 112 Filed 12/16/22 Page 15 of 25 PageID 1278




  extends to public-school classroom instruction. See Kennedy v. Bremerton Sch. Dist.,

  142 S. Ct. 2407, 2424 (2022) (explaining that the government-speech doctrine applies to

  coaches “instructing” players). Accordingly, curricular choices like those at issue here—

  those that “direct teachers as to what they may and may not teach,” Equality Fla. at 6—

  do not abridge the freedom of speech, see Mayer v. Monroe Cnty. Cmty. Sch. Corp., 474

  F.3d 477, 479 (7th Cir. 2007) (Easterbook, J.); Marshall v. Bd. of Educ. Of Tipp City

  Exempted Vill. Sch. Dist., 624 F.3d 332, 341 (6th Cir. 2010) (Sutton, J.); Nampa Classical

  Acad. v. Goesling, 447 F. App’x 776, 778 (9th Cir. 2011).1 Put differently, “where the

  [State] is selecting textbooks for use in the classroom, students have no constitutional

  right to compel the [State] to select materials of their choosing.” Chiras, 432 F.3d at 620.

         2. Apart from the government-speech doctrine, the Supreme Court has said that

  schools can restrict even student speech during “activities [that] may fairly be

  characterized as part of the school curriculum” if doing so is “reasonably related to

  legitimate pedagogical concerns.” Hazelwood, 484 U.S. at 271, 273. As the Court

  explained, restrictions advance a “legitimate pedagogical concern” when they shield

  students from topics that are “inadequately researched” or “unsuitable for immature

  audiences,” including “potentially sensitive topics, which might range from the existence




         1Virgil v. School Board of Columbia County, 862 F.2d 1517 (11th Cir. 1989), is not
  to the contrary. There, the Eleventh Circuit applied rational-basis scrutiny to a school’s
  decision to remove a textbook from an elective course’s curriculum. Id. at 1521. But Virgil
  predates the Supreme Court’s government-speech cases. See Chiras v. Miller, 432 F.3d
  606, 617 (5th Cir. 2005) (discussing Virgil). The court worked with the best “guidance” it
  had in 1989. Virgil, 862 F.2d at 1520–21. Since then, the Supreme Court has clarified “the
  government’s authority over its own message,” Chiras, 432 F.3d at 617, and (as explained
  above) subsequent Eleventh Circuit cases have applied the government-speech doctrine
  to government messaging in public schools.


                                              15
Case 6:22-cv-01312-WWB-LHP Document 112 Filed 12/16/22 Page 16 of 25 PageID 1279




  of Santa Claus in an elementary school setting to the particulars of teenage sexual activity

  in a high school setting,” or “matters of political controversy.” Id. at 271–72.

         HB 1557 advances those interests. As discussed above, the statute neutrally limits

  public education on “gender identity” and “sexual orientation” conducted from any point

  of view. The Legislature reasonably concluded that legislation would thereby advance the

  State’s interest in educational “neutrality on matters of political controversy,” Hazelwood,

  484 U.S. at 272, which sexual orientation and gender identity plainly are, regardless of

  one’s preferred orthodoxy. Indeed, the Supreme Court has acknowledged that “sexual

  orientation and gender identity” are “controversial subjects” and “sensitive political topics.”

  Janus v. Am. Fed’n of State, Cnty., & Mun. Emps., Council 31, 138 S. Ct. 2448, 2476 &

  n.20 (2018) (citation omitted).

         For much the same reason, HB 1557 advances the State’s interest in shielding

  students from topics that are “potentially sensitive” and “unsuitable for immature

  audiences.” Hazelwood, 484 U.S. at 271–72. If “the existence of Santa Claus” is too

  “sensitive” for students “in an elementary school setting,” id. at 272, then the State

  certainly was reasonable in concluding that sexual orientation and gender identity are too

  sensitive for the youngest children in the same setting. See Robertson v. Anderson Mill

  Elementary Sch., 989 F.3d 282, 288–89 (4th Cir. 2021) (holding that fourth grader had no

  First Amendment right to present a “LGBTQ-themed essay”).

         3. In support of their First Amendment claims, Plaintiffs suggest that HB 1557 does

  not advance a “legitimate” interest because it was motivated by “animus.” ECF 82 ¶ 157.

  As discussed more fully below, Plaintiffs have not come close to showing that the

  Legislature acted out of animus. See infra pp. 19–23. But the argument fails for a more




                                                16
Case 6:22-cv-01312-WWB-LHP Document 112 Filed 12/16/22 Page 17 of 25 PageID 1280




  basic reason: The First Amendment does not authorize the courts to “strike down an

  otherwise constitutional statute on the basis of an alleged illicit legislative motive.” United

  States v. O’Brien, 391 U.S. 367, 383 (1968); see In re Hubbard, 803 F.3d 1298, 1313–14

  (11th Cir. 2015); NetChoice, LLC v. Att’y Gen., 34 F.4th 1196, 1224 (11th Cir. 2022).

         4. The above discussion resolves Plaintiffs’ overbreadth claim as well. ECF 82

  ¶¶ 159–166. A “law may be invalidated as overbroad if ‘a substantial number of its

  applications are unconstitutional.’” United States v. Stevens, 559 U.S. 460, 473 (2010)

  (citation omitted). Because HB 1557 “does not regulate [private] speech, it does not

  violate the First Amendment rights of persons not before the court” and “Plaintiffs’

  ‘overbreadth’ argument is nothing more than a restatement of the First Amendment

  argument they make on their own behalf.” Initiative & Referendum Inst. v. Walker, 450

  F.3d 1082, 1105 (10th Cir. 2006) (en banc).

                C.     Count II - First Amendment Right to Information

         Plaintiffs also contend that HB 1557 violates their right to receive information. But

  “[t]he listener’s right to receive information is reciprocal to the speaker’s right to speak.”

  Doe ex rel. Doe v. Governor of N.J., 783 F.3d 150, 155 (3d Cir. 2015); accord Bd. of Educ.

  v. Pico, 457 U.S. 853, 867 (1982) (plurality op.). And as discussed above, it is the State’s

  right to determine what message to disseminate through its public schools, whether under

  the government speech doctrine or under Hazelwood’s rational-basis standard.

         Plaintiffs contend that the State exercised its authority “for narrowly partisan or

  political reasons,” the standard drawn from the plurality opinion in Pico. First of all, Pico

  was “a badly fractured decision” that is “of no precedential value as to the application of

  the First Amendment to these issues.” ACLU of Fla., 557 F.3d at 1199–1200 (quotations

  omitted). In any event, Plaintiffs overread Pico on its own terms. The case was about the


                                                17
Case 6:22-cv-01312-WWB-LHP Document 112 Filed 12/16/22 Page 18 of 25 PageID 1281




  removal of books from a school library, and the plurality was clear that classroom

  instruction is different, expressing “full agreement” that States “must be permitted to

  establish and apply their curriculum in such a way as to transmit community values, and

  that there is a legitimate and substantial community interest in promoting respect for . . .

  traditional values be they social, moral, or political.” 457 U.S. at 864 (cleaned up). The

  plurality observed that States may well have “absolute discretion in matters of curriculum”

  given “their duty to inculcate community values.” Id. at 869 (emphasis in original). Pico is

  therefore consistent with the State’s position that classroom instruction is government

  speech. Even if that were not so, for the reasons discussed above, HB 1557 would easily

  pass muster under Hazelwood. See supra pp. 14–16. Finally, even taking Pico as

  Plaintiffs frame it, the right to receive information does not prohibit schools from delaying

  to later grades instruction on sensitive topics, Zykan, 631 F.2d at 1306, and that is all HB

  1557 does.

                D.     Count V – Equal Protection of the Law

         1. Plaintiffs allege that HB 1557 “was enacted with the purpose to discriminate and

  has the effect of discriminating against” gay and transgender individuals. ECF 82 ¶ 188.

  As discussed above, that claim must be dismissed for lack of standing because Plaintiffs

  allege only exposure to a discriminatory government message (although even in

  message, the law is neutral), not differential treatment. See supra pp. 19–23. The claim

  fails on the merits for the same reason: Plaintiffs must establish both “discriminatory

  effect” and “discriminatory purpose.” Greater Birmingham Ministries v. Sec’y of State, 992

  F.3d 1299, 1321 (11th Cir. 2021). Here, Plaintiffs have adequately alleged neither.




                                               18
Case 6:22-cv-01312-WWB-LHP Document 112 Filed 12/16/22 Page 19 of 25 PageID 1282




         2. Plaintiffs’ equal protection claim fails for the additional reason that HB 1557

  regulates only how public-school teachers will deliver the government’s message in the

  classroom, and the Equal Protection Clause does not apply to government speech.”

  Fields v. Speaker of Penn. House of Representatives, 936 F.3d 142, 161 (3d Cir. 2019);

  accord Freedom from Religion Found., Inc. v. City of Warren, 707 F.3d 686, 698 (6th Cir.

  2013); Bloomberg v. Blocker, 586 F. Supp. 3d 1251, 1258 (M.D. Fla. 2022). “[I]t is the

  very business of government to favor and disfavor points of view,” and “a government

  entity is entitled to say what it wishes and to select the views it wants to express,” with a

  notable exception for the establishment of religion. Am. Atheists, Inc. v. Port Auth. of N.Y.

  & N.J., 760 F.3d 227, 246 (2d Cir. 2014) (cleaned up) (rejecting equal protection claim

  alleging animus in the adoption of the September 11 Memorial at Ground Zero).

         3. Count V fails for the additional reason that Plaintiffs have not plausibly “plead[ed]

  animus.” DHS v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1915 (2020) (quoting

  Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 266 (1977)). To do that, they

  “must raise a plausible inference that an ‘invidious discriminatory purpose was a

  motivating factor’ in the relevant decision.” Id. Here, that means ascertaining the

  underlying motivation for the decision of “the legislature as a whole,” Brnovich v. DNC,

  141 S. Ct. 2321, 2350 (2021), a task that is demanding because “determining the intent

  of the legislature is a problematic and near-impossible challenge,” Greater Birmingham

  Ministries v. Sec’y of State, 992 F.3d at 1324. Plaintiffs must also overcome “the

  presumption of legislative good faith” to which the Legislature is entitled when charged

  with invidious discrimination. Id. at 1325.

         Plaintiffs’ allegations do not even approach that high bar.




                                                19
Case 6:22-cv-01312-WWB-LHP Document 112 Filed 12/16/22 Page 20 of 25 PageID 1283




         As the Supreme Court has explained, “discrimination is not a plausible conclusion”

  from the allegations in a complaint where there are “‘obvious alternative explanation[s]”’

  for the alleged conduct. Iqbal, 556 U.S. at 682 (quoting Bell Atl. Corp. v. Twombly, 550

  U.S. 544, 567 (2007)). Here, the challenged provision is “neutral on its face and rationally

  may be said to serve a purpose the Government is constitutionally empowered to pursue.”

  Washington v. Davis, 426 U.S. 229, 246 (1976). The Legislature adopted HB 1557 to

  safeguard parents’ right to educate their children about two sensitive topics, irrespective

  of the parents’ viewpoints. See Fla. H.R., CS/CS/HB 1557 (2022) Final Staff Analysis at

  4–5                         (Mar.                        28,                         2022),

  https://www.flsenate.gov/Session/Bill/2022/1557/Analyses/h1557z.EEC.PDF; see also

  Greater Birmingham Ministries, 992 F.3d at 1323 (crediting the state’s account of intent).

  The statute does exactly that, prohibiting classroom instruction on those topics for the

  youngest children (those in kindergarten through third grade) and, thereafter, permitting

  such instruction if it is “age-appropriate [and] developmentally appropriate for students.”

  See Fla. Stat. § 1001.42(8)(c)(3). Plaintiffs’ charge of animus is also irreconcilable with

  the fact that the statute evenhandedly restricts instruction that (for example) opposes

  same-sex marriage as much as instruction that embraces it.

         The motive for the curricular restriction is underscored by the bill’s structure.

  Plaintiffs articulate no constitutional quarrel with the bulk of the bill, which advances

  parental rights by ensuring that parents have transparency into the wellbeing of their

  children at school. See Fla. Stat. §§ 1001.42(8)(c)(1), (2), (5). The remedial scheme, too,

  is focused on parental rights, which is why it empowers only “parents” to seek relief when

  school boards establish policies or procedures that are inconsistent with the statute. See




                                              20
Case 6:22-cv-01312-WWB-LHP Document 112 Filed 12/16/22 Page 21 of 25 PageID 1284




  id. § 1001.42(8)(c)(7). Likewise, the title (“An Act Relating to Parental Rights in

  Education”) and the staff analysis (which extensively discusses a “parent’s fundamental

  right to make decisions”) reinforce the focus on empowering parents, which was

  repeatedly echoed during debate in the House and Senate. E.g., Fla. H., recording of

  proceedings, at 2:37, 2:41, 2:47, 2:51, 3:12, 3:13, 4:16 (Feb. 22, 2022); 2 Fla. H., recording

  of proceedings, at 2:18, 2:20, 2:45, 2:47–49, 2:51–52, 3:04, 3:11, 3:13, 3:17 (Feb. 24,

  2022);3 Fla. S., recording of proceedings, at :36–:37, :44–:45, 1:00–01, 1:02, 1:47, 2:07–

  09, 2:13–14, 2:19–21, 2:43, 2:46, 3:09, 3:11, 3:32 (Mar. 7, 2022);4 Fla. S., recording of

  proceedings, at 1:53; 1:56; 2:26; 2:31 (March 8, 2022).5 The curricular restriction—like

  the rest of the bill—was designed to protect parental rights, not to demean or disparage.

         When, as here, “there [a]re legitimate reasons for the . . . Legislature to adopt and

  maintain” a law, courts “will not infer a discriminatory purpose.” McCleskey v. Kemp, 481

  U.S. 279, 298–99 (1987). Accordingly, courts should “ordinarily defer to the legislature’s

  stated intent,” and “only the clearest proof will suffice to override” that consideration.

  Smith v. Doe, 538 U.S. 84, 92 (2003) (cleaned up).

         Plaintiffs respond with a single cherrypicked statement from Senator Baxley, HB

  1557’s Senate sponsor, suggesting that the bill was needed because students were

  “coming out” at school. ECF 82 ¶ 43. First of all, the statements of individual legislators

  do not “demonstrate discriminatory intent by the state legislature.” League of Women

  Voters of Fla. v. Fla. Sec’y of State, 32 F.4th 1363, 1373 (11th Cir. 2022). “[L]egislators




         2 https://thefloridachannel.org/videos/2-22-22-house-session/.
         3 https://thefloridachannel.org/videos/2-24-22-house-session-part-1/.
         4 https://thefloridachannel.org/videos/3-7-22-senate-session-part-3/.
         5 https://thefloridachannel.org/videos/3-8-22-senate-session/.



                                               21
Case 6:22-cv-01312-WWB-LHP Document 112 Filed 12/16/22 Page 22 of 25 PageID 1285




  who vote to adopt a bill are not the agents of the bill’s sponsor or proponents,” Brnovich,

  141 S. Ct. at 2350, so their statements are not sufficient to support an inference of

  discriminatory purpose on the part of the body as a whole. In any event, the presumption

  of legislative good faith requires that such statements be taken at their best, not their

  “worst.” See League of Women Voters of Fla., 32 F.4th at 1373. HB 1557 was adopted

  against a background of Florida schools hiding from parents that their children had “come

  out” at school, which is why, in context, Senator Baxley was talking about ensuring that

  parents “have a seat at the table” when their kids come out, Fla. S., recording of

  proceedings, at 3:53–56 (Mar. 7, 2022), https://tinyurl.com/58v787fy.

         Plaintiffs’ allegations concerning the statements of Governor DeSantis’

  “spokesperson,” ECF 82 ¶ 44, are irrelevant because the “legally dispositive intent” is that

  of the Legislature, Greater Birmingham Ministries, 992 F.3d at 1325. Statements by non-

  legislators are not probative at all. Id. Plaintiffs also allege that the Governor “articulated

  the Law’s purpose of suppressing particular viewpoints across all grade levels by stating

  that ‘things like woke gender ideology have no place in the schools, period.’” ECF 82 ¶ 44.

  Those statements simply reflect the immediate problem that led to the bill’s adoption—a

  recent history of public-school teachers inappropriately introducing modern gender theory

  to young children. CS/CS/HB 1557 Final Staff Analysis, supra, at 4–5. Nevertheless, the

  Legislature and Governor adopted neutral statutory language that shields all parents’ right

  to educate their children on these issues in the first instance, regardless of viewpoint.

         Plaintiffs next point to various proposed amendments to HB 1557, the rejection of

  which Plaintiffs say “show that the legislature intentionally failed to clarify the Law’s vague

  terms and intended to target the LBGTQ+ community.” ECF 82 ¶ 46. The mere fact,




                                                22
Case 6:22-cv-01312-WWB-LHP Document 112 Filed 12/16/22 Page 23 of 25 PageID 1286




  however, that the “legislature did not include the alternative option[s] that Plaintiffs would

  have preferred” is not a persuasive allegation of discriminatory intent. Greater

  Birmingham Ministries, 992 F.3d at 1327. Indeed, many of the rejected amendments are

  not even logically relevant, as most of them would have altered the substantive reach of

  the bill. For example, Senator Brandes proposed replacing “‘sexual orientation’ and

  ‘gender identity’ with ‘human sexuality’ and ‘sexual activity.’” ECF 82 ¶ 46. Because such

  amendments would not have achieved the Legislature’s objectives, rejecting them is not

  evidence of animus. See Easley v. Cromartie, 532 U.S. 234, 249 (2001) (demanding that

  alternatives satisfy the Legislature’s “nonracial political goals”). Other proposed

  amendments were simply redundant because they would have excluded items like

  student-to-student speech, which the enacted bill does not prohibit. ECF 82 ¶ 47.

         Plaintiffs’ narrative about the amendment history is, in any event, seriously

  misleading. The Legislature did substantially amend the bill to address its opponents’

  concerns—the original version’s restriction on “encourage[ing] classroom discussion”

  was amended to cover only “classroom instruction.” Compare HB 1557, An Act Relating

  to Parental Rights (Jan. 21, 2022), with Fla. Stat. § 1001.42(8)(c)(3). Against that

  backdrop, the Court “cannot say that the legislature failed to consider . . . alternatives that

  would lessen any potentially discriminatory impact,” Greater Birmingham Ministries, 992

  F.3d at 1327—indeed, it adopted one such alternative.

         Because Plaintiffs have failed to show discriminatory purpose, their equal

  protection claim must be dismissed.




                                                23
Case 6:22-cv-01312-WWB-LHP Document 112 Filed 12/16/22 Page 24 of 25 PageID 1287




                E.      The Complaint Must Be Dismissed Insofar as Plaintiffs
                        Challenge Non-Curricular Aspects of HB 1557.

         Plaintiffs also appear to challenge aspects of HB 1557 that require parental

  notification if “there is a change in the student’s services or monitoring related to the

  student’s   mental,   emotional,    or   physical   health   or   well-being.”   Fla.   Stat.

  § 1001.42(8)(c)(1). Specifically, one Plaintiff alleges that, “[s]ince the Law’s passage,”

  “school counselors are seeking additional permission from him before interacting with his

  children, and he worries that his children cannot access timely and appropriate services

  the way they have previously been able to do.” ECF 82 ¶ 97.

         First, Plaintiffs lack standing on this claim because they tie their alleged injury to

  “the Law’s passage,” not its enforcement. See ECF 81 at 16. Second, they do not explain

  how the alleged injury relates to any substantive legal theory. Nor could they. Parents

  have a right to “direct the upbringing and education of” their “children.” Pierce v. Soc’y of

  the Sisters, 268 U.S. 510, 534 (1925). States are thus free to include parents in major

  decisions affecting their children. E.g., Lambert v. Wicklund, 520 U.S. 292, 297 (1997).

                                        CONCLUSION

         For the foregoing reasons, Plaintiffs’ complaint should be dismissed with prejudice.




                                               24
Case 6:22-cv-01312-WWB-LHP Document 112 Filed 12/16/22 Page 25 of 25 PageID 1288




                                                    Respectfully submitted,

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                                CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing was filed with the Court’s CM/ECF

  system, which provides notice to all parties, on this 16th day of December, 2022.

                                                        /s/ Daniel William Bell
                                                        Daniel William Bell

                          LOCAL RULE 3.01(G) CERTIFICATION

         I hereby certify that I have conferred by videoconference with counsel for Plaintiffs,

  who oppose this motion in its entirety.

                                                        /s/ Daniel William Bell
                                                        Daniel William Bell




                                               25
